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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

 JOSE JUAN MAYSONET, JR.,

 Plaintiff,
                                                 Case No. 18-cv-2342
 v.
                                                 Judge Mary M. Rowland
 REYNALDO GUEVARA, et al.,

 Defendants.

                    MEMORANDUM OPINION AND ORDER

       Plaintiff Jose Juan Maysonet, Jr. brings suit under federal and state law

against six Defendant police officers, former Cook County State’s Attorney Frank

DiFranco, Cook County, and the City of Chicago (the “City”), challenging his arrest,

prosecution, and conviction for a double homicide in 1990. Before the Court is

Defendant City of Chicago’s motion to bifurcate Plaintiff’s Monell claims and to stay

Monell discovery under Federal Rule of Civil Procedure 42(b) [94]. For the reasons

stated below, the City’s motion is denied.

                                  BACKGROUND

       This case arises from Plaintiff’s arrest and conviction for the murders of

Torrence and Kevin Wiley in 1990. After spending 27 years in prison, Maysonet’s

conviction was vacated on November 15, 2017. Plaintiff brings this suit pursuant to

42 U.S.C. §1983, and various state law causes of action, claiming that several City of

Chicago police officers, together with Di Franco, violated his due process rights by (1)

manipulating and coercing Maysonet into giving a false confession, (2) fabricating



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inculpatory evidence, (3) suppressing exculpatory evidence, (4) conspiring to deprive

Maysonet of his constitutional rights, and (5) failing to intervene to protect those

rights. Maysonet also alleges, pursuant to Monell v. Dep't of Soc. Servs. of City of New

York, 436 U.S. 658 (1978), that these actions were facilitated by or carried out

pursuant to City policies and that the City failed to adequately train, supervise,

investigate and discipline its officers. At present, the City seeks to bifurcate Plaintiff’s

Monell claims and stay Monell discovery under Federal Rule of Civil Procedure 42(b).

                                 STANDARD OF REVIEW

       Federal Rule of Civil Procedure 42(b) provides that “[f]or convenience, to avoid

prejudice, or to expedite and economize, the court may order a separate trial of one

or more separate issues, claims, crossclaims, counterclaims, or third-party claims.”

Fed. R. Civ. P. 42(b). The Seventh Circuit has emphasized that only one of the above

criteria, prejudice or judicial economy, needs to be satisfied for a court to grant

bifurcation, but the court must ensure that “doing so will not prejudice the non-

moving party or violate the Seventh Amendment.” Chlopek v. Fed. Ins. Co., 499 F.3d

692, 700 (7th Cir. 2007). The district court has considerable discretion in deciding

whether to bifurcate claims. See e.g., Krocka v. City of Chicago, 203 F.3d 507, 516 (7th

Cir. 2000). “[T]he decision to grant or deny bifurcation is a heavily fact-intensive

analysis, dependent upon costs and benefits of bifurcation under the unique

circumstances of each case.” Awalt v. Marketti, No. 11 C 6142, 2012 WL 1161500, at

*10 (N.D. Ill. April 9, 2012).




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                                     ANALYSIS

 I.    Judicial Economy

       The City argues that bifurcation would avoid unnecessary litigation and

discovery. Because Maysonet’s Monell claim is contingent on a finding of liability

against the Defendant officers, the City argues, the Monell claim may not need to be

adjudicated at all.

          A. Pendency of Monell Claim on Individual Officer Liability

       The Seventh Circuit has made clear that “a municipality can be held liable

under Monell, even when its officers are not, unless such a finding would create an

inconsistent verdict.” Thomas v. Cook Cty. Sheriff's Dep't, 604 F.3d 293, 305 (7th Cir.

2010) (emphasis in original). Inconsistency is assessed by considering “the nature of

the constitutional violation, the theory of municipal liability, and the defenses set

forth.” Id.

       Maysonet alleges several theories of Monell liability against the City, including

that the City maintained policies that facilitated the fabrication of evidence, abusive

interrogation methods, and the suppression of exculpatory evidence. Although the

parties do not dispute that most of these theories would require a finding of

misconduct on behalf of the Defendant officers, Maysonet argues that his suppression

of exculpatory evidence claim is not contingent on individual officer misconduct.

Maysonet alleges:

       [M]embers of the Chicago Police Department … systematically suppressed
       exculpatory and/or impeaching memos and other information in files that
       were maintained solely at the police department and were not disclosed to
       the participants of the criminal justice system. As a matter of widespread

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        custom and practice, these clandestine files were withheld from the State’s
        Attorney’s Office and from criminal defendants, and they were routinely
        destroyed at the close of the investigation, rather than being maintained as
        part of the official file.

(Dkt. 1 at ¶214). According to Maysonet “a jury might find that the individual

defendants put investigative materials where they were supposed to in police

department files, but that the City had no mechanism for ensuring those files were

turned over to Plaintiff or the attorneys involved in his criminal prosecution.” (Dkt.

107 at 6-7). 1 Courts in this district have recognized that under similar facts, Monell

liability against the City is not necessarily dependent on a finding of liability against

the individual officers. For instance, in Gomez v. Guevara et al., the court denied

bifurcation:

        [W]ith respect to the evidence suppression allegations, the jury could
        presumably find that the Defendant Officers put the evidence in its
        proper place within the Chicago Police Department files, but that the
        City had no mechanism for guaranteeing that those files were turned
        over in the litigation process. This finding would not be contingent on
        the jury determining that the individual officers intentionally
        suppressed evidence. . . . Therefore, Gomez’s asserted Monell claim could
        still proceed independent of the Defendant Officers individual liability.
        Accordingly, bifurcation would not serve the interests of judicial
        economy on this ground.

No. 18c3335, 2019 U.S. Dist. LEXIS 155120, *8; *10 (N.D. Ill. April 8, 2019); see also

Cage v. City of Chicago, No. 9 C 3078, 2010 WL 3613981, at *2 (N.D. Ill. Sept. 8, 2010)



1 The City, citing to Mitchell v. City of Chicago, No. 18 C 7375, (N.D. Ill. Sept. 19, 2019), contends that

this argument should be rejected because Maysonet’s Complaint does not allege that the City’s filing
system prevented production of exculpatory information. (Dkt. 94-1 Ex. 5 at 2). The Court disagrees.
Maysonet alleges that a “clandestine” filing system prevented the disclosure of exculpatory
information. (Dkt. 1 at ¶214). The Plaintiff in Mitchell, on the other hand, alleged “only that the
individual defendants intentionally withheld or destroyed exculpatory information … and only that
the City’s policy was to systematically suppress[ ] evidence pertaining to … fabricated and coerced
statements.” (Id.) (emphasis in original).

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(jury could hold the City liable for a policy of not providing exculpatory evidence to

the defense despite the individual actors not intending to withhold evidence).

Additionally, because each of the individual Defendants asserts a defense of qualified

immunity in this case, this too creates the possibility that a jury could find the City

liable for Monell violations despite the individual officers being shielded from

liability. See Cage, 2010 WL 3613981, at *2 (“Moreover, some of the individual

defendants have asserted a defense of qualified immunity, and if [plaintiff] can

establish it was the policy of the Chicago Police Department crime lab to withhold

exculpatory evidence, a verdict could exist against the municipality but in favor of

the individual defendants.”); Medina v. City of Chicago, 100 F. Supp. 2d 893, 896

(N.D. Ill. 2009) (“Thus when a plaintiff loses his claim against a police officer based

on qualified immunity, he can still recover against the municipality if he can prove a

constitutional deprivation caused by a municipal policy or custom.”). 2

        Accordingly, bifurcation weighs against the interests of judicial economy.

            B. Increased Discovery Burden and Expense

        Given the expansive breadth and scope of Maysonet’s Monell allegations and

discovery requests to date, the City next argues the increased discovery burden and

expense of proceeding with the Monell claim is grounds for bifurcation. Although the

Court acknowledges the significant burden of Monell discovery, this burden is




2 The City argues that the individual Defendants’ assertions of qualified immunity will not create

inconsistent verdicts because the constitutional violations alleged by Maysonet are clearly established.
It is too early to reach this conclusion. Indeed, the assertion of qualified immunity, unless brought in
bad faith, reflects an expectation that the evidence may reveal ambiguities such that the court or a
jury could find that the officers did not violate clearly established law.

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mitigated by the fact that Monell discovery including written policies and training

manuals, employee records, and samples of homicide and or CR files have or will be

produced in other cases involving a similar group of Chicago Police Officers including

Rivera v. Chicago, No. 12c4428 (N.D. Ill.); Fields v. Chicago, No. 10c1168 (N.D. Ill.);

Ryes v. Guevara, et al, No. 18c1028 (N.D. Ill.); Gomez, No. 18c335 (N.D. Ill.); Reyes &

Solache v. Guevara, Nos. 18 18c1028 & 18c2312 (N.D. Ill.); Almodovar v. Guevara,

Nos. 18c2341 & 18c2701 (N.D. Ill.); Sierra v. Guevara, No. 18c3029 (N.D. Ill.); and

Bouto v. Guevara, No. 19cv2442 (N.D. Ill.). Other courts have reached similar

conclusions. See e.g., Rodriguez v. City of Chicago, No. 18-CV-7951, 2019 WL 4278501,

at *2 (N.D. Ill. Sept. 10, 2019), objections overruled, 429 F. Supp. 3d 537 (N.D. Ill.

2019) (“This is …. one of several cases alleging the same pattern and practice of

fabricating incriminating evidence and hiding exonerating evidence against a similar

group of Chicago Police Officers that is currently being litigated in several courts in

the Northern District of Illinois. At least one of these cases, Rivera, has already been

tried to a jury, and gone through Monell discovery. As such, much of the discovery on

Monell liability has already been done by the City at least once, and it will not need

to expend significant time or resources to complete it.”); Cadle v. City of Chicago, No.

15 C 4725, 2015 WL 6742070, at *2 (N.D. Ill. Nov. 2, 2015) (“The City is very familiar

with this type of discovery, and the Court has no doubt that the City has produced

similar information in other cases. The incremental burden of doing so again here

does not militate heavily in favor of bifurcation.”). Although the discovery in these

cases does not completely overlap in terms of time period or subject matter, it overlaps



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enough to decrease the burden of discovery. Additionally, to the extent the City finds

Plaintiff’s Monell discovery requests overly broad or unduly burdensome, “the parties

can seek assistance from the Court to tailor the requests as necessary after making

independent good faith attempts to do so.” Estate of McIntosh v. City of Chicago, 2015

WL 5164080, at *8 (N.D. Ill. Sept. 2, 2015).

       Moreover, much of the evidence required to litigate the individual claims will

be relevant to the Monell claim and vice a versa, such that bifurcation could result in

two rounds of depositions and document production. See e.g., Gomez, 2019 U.S. Dist.

LEXIS 155120, at *11 (denying bifurcation of Monell claim in part because in § 1983

cases “there is a significant overlap in the witnesses, experts, and evidence” such that

it “could create double work in the sense of, for example, needing to depose witnesses

or solicit testimony first regarding [plaintiff’s] specific case and a second time

regarding how the City’s policies impacted that case work.”). The City argues that all

but one of the Defendant officers, as well as some third-party officers and witnesses,

have already been deposed on Monell-related questions, such that they would not

need to be deposed again. But in the case that there is a second trial, Plaintiff would

certainly seek the right to ask these individuals Monell-related questions and request

Monell-related documents that were not produced earlier. Thus, because bifurcation

would likely duplicate discovery efforts and expense, and because the burden of

unitary discovery is lessened by the expanse of similar litigation, the interests of

judicial economy weigh against bifurcation. 3


3 In the alternative, the City requests the Court to stay Monell discovery and revisit the issue of

bifurcation after summary judgment assuming Plaintiff’s claims will have been narrowed. The Court

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II.    Prejudice

       The Court also considers whether bifurcation would avoid prejudice to the

Defendants and concurrently addresses any prejudice to Maysonet from bifurcation.

The City argues that if the claims against the Defendant officers and the Monell claim

against the City are tried together, there is risk that the jury will impute evidence

against the officers to the City and evidence against the City to the individual officers.

Limiting instructions and other evidentiary tools are the proper mechanism to

address this concern. See e.g., Giles v. Ludwig, No. 12–cv–6746, 2013 WL 6512683, at

*2 (N.D. Ill. Dec. 6, 2013) (denying bifurcation because “any potential prejudice that

might arise from a unitary trial can be mitigated through the use of limiting

instructions, motions in limine, and the Rules of Evidence”). “Though the Court is

cognizant of the possibility of prejudice to the individual officers [and the City] if the

claims are tried together, our system generally trusts jurors to understand and follow

limiting instructions regarding consideration of evidence against some defendants

and not others ….” Medina, 100 F. Supp. 2d at 897. Moreover, determining potential

prejudice to parties at trial is often “premature and too speculative” at this stage of

the litigation. McIntosh, 2015 WL 5164080, at *9; Estate of Loury by Hudson v. City

of Chicago, No. 16-CV-04452, 2017 WL 1425594, at *4 (N.D. Ill. Apr. 20, 2017); see

also Jackson v. City of Chicago, No. 14 C 6746, 2017 WL 8199322, at *3 (N.D. Ill. Dec.

12, 2017) (“[T]he better time to evaluate [prejudice from trying individual and Monell




declines to do so. As noted, there is likely to be significant overlap between the Monell claim and the
individual claims such that it is more efficient to conduct unitary discovery. Also, the Court does not
wish to referee the inevitable disputes about the scope of Monell versus non-Monell discovery.

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claims together] is shortly before trial, when the court (and the parties) will have a

much better understanding of the evidence and its relevance to the individual and

Monell claims.”). Defendants have not established that bifurcation is necessary to

avoid prejudice in this case.

      By contrast, despite the City’s assurances to the contrary, bifurcation would

prejudice Maysonet. The City asserts that if “any one of the Defendant Officers are

found to have violated Plaintiff’s constitutional rights, bifurcation of Plaintiff’s

Monell claim will not affect his recovery of any damages that a jury may award him”

because the City agrees to “entry of a judgment against it for the amount of

compensatory damages … that would be awarded by the jury, plus reasonable

attorney’s fees, without requiring Plaintiff to prove the elements of Section 1983 for

municipal liability.” (Dkt. 94 at 9). Because Maysonet is not entitled to any additional

compensatory damages and he does not seek injunctive relief, the City argues that

bifurcation would allow Plaintiff to recover the same amount of damages without

having to litigate his Monell claim at all.

      This argument overlooks the important nonmonetary considerations a plaintiff

has in litigating a Monell claim against a municipality. See e.g., Loury, 2017 WL

1425594, at *5 (“Plaintiff has other important objectives—most notably, deterrence

and reform— that would be furthered by a judgment holding the City liable for the

Defendant Officers' alleged misconduct.”); McIntosh, 2015 WL 5164080, at *10 (“A

judgment against a municipality can be a catalyst for change, because it not only

holds that entity responsible for its actions and inactions, but also can encourage the



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municipality to reform the patterns and practices that led to constitutional violations,

as well as alert the municipality and its citizenry to the issue.”) (internal quotations

omitted). These nonmonetary interests are not moot simply because Maysonet does

not pursue injunctive relief. That “argument misunderstands the policy value in

finding that the City’s policy and practices were constitutionally deficient, and the

precedential value of such findings for other plaintiffs in future cases who might seek

to hold the City liable for similar policies.” Bouto v. Guevara, 19-cv-2441, 2020 WL

956294, at *3 (N.D. Ill. Feb. 27, 2020). 4

       Although some courts in this district have found that the City’s willingness to

consent to a judgment against it for compensatory damages adequately serves

nonmonetary interests, see Ezell v. City of Chicago, No. 18 C 1049, 2019 WL 3776616,

at *6 (N.D. Ill. Aug. 12, 2019); Williams v. City of Chicago, 315 F. Supp. 3d 1060,

1083–84 (N.D. Ill. 2018), others have found “such stipulations insufficient to justify

bifurcation, noting that the plaintiff is entitled to be the master of her own complaint

and pursue claims even if they have a minimal pecuniary reward.” Rodriguez v. City

of Chicago, No. 17 CV 7248, 2018 WL 3474538, at *3 (N.D. Ill. July 19, 2018) (citing

McIntosh, 2015 WL 5164080, at *9; Warren v. Dart, No. 09 CV 3512, 2012 WL

1866372, at *2 (N.D. Ill. May 22, 2012)). Further, courts in this district have

particularly taken issue with similar consents to judgment as offering little, if any,




4 The City’s argument that because the policies at issue are 25 years old and have been revised, any

impact of a judgment that those policies violate the constitution would be limited at best is equally
unavailing. The City has not shown that the pertinent policies have been meaningfully reformed such
that a finding of Monell liability in this case would have no impact on institutional reform or
deterrence.

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deterrent effect where, as here, the proposal expressly denies any wrongdoing on the

part of the City. Rodriguez, 2018 WL 3474538, at *3 (“A proposed consent judgment

is particularly ill-designed to have any deterrent effect where, as here, it expressly

denies any wrongdoing on the City’s part.”); Loury, 2017 WL 1425594, at *5 (noting

same); Giles, 2013 WL 6512683, at *3.

      The Court notes that bifurcation is essentially a means “to achieve a de facto

dismissal of the Monell claim.” Gomez, 2019 U.S. Dist. LEXIS 155120, *12-13; see also

Cadiz v. Kruger, No. 06 C 5463, 2007 WL 4293976, at *10 (N.D. Ill. Nov. 29, 2007) (“If

accepted, the City’s bifurcation strategy would allow it to avoid the merits of virtually

any Monell claim alleging police misconduct.”) and Kuri v. Folino, 409 F. Supp. 3d

626, 653 (N.D. Ill. 2019) (denying plaintiff’s motion to pursue bifurcated Monell claim

after trial on individual claims explaining: “Since [plaintiff] is not able to collect

anything in addition to th[e] [amount of compensatory damages awarded against the

individual officers], regardless of any Monell claims, and since he has not brought

claims against the City for injunctive relief, there is no live case or controversy

against the City on which [plaintiff] can move forward.”).

      This Court will not deprive a plaintiff, particularly one who has spent 27 years

in prison on a conviction that has been vacated by the state courts, a merits

determination on a Monell claim. Monell claims are difficult to prove and consent to

judgment agreements like that proposed here may pose a benefit to someone in

Maysonet’s position. But the Court will not force Maysonet to accept such an

agreement and forfeit a merits determination on his Monell claim through the vehicle



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of bifurcation. See Cadiz, 2007 WL 4293976, at *11 (the court “does not believe that

the City should be allowed to deprive a plaintiff of a merits determination of a Monell

claim by the expedient of agreeing to pay a judgment against its officers that the City

may be statutorily or contractually obligated to pay anyway.”). The City’s motion is

denied. 5

                                      CONCLUSION

         For the reasons set forth above, Defendants’ motion to bifurcate and stay

discovery is denied without prejudice.


                                                  E N T E R:


    Dated: June 11, 2020

                                                  MARY M. ROWLAND
                                                  United States District Judge




5Because the Court has determined that bifurcation would prejudice the Plaintiff, it declines to
address Maysonet’s argument that bifurcation would violate the Seventh Amendment.

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